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                                                                      Doe Pls' Trial Ex.

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From:            Hartman, Janet E
To:              "Rossitto-Vanwinkle, Tari"; Vazquez, Paul
Subject:         RE: BOM rule on treatment of treatment of Gender Dysphoria in Minors
Date:            Tuesday, November 1, 2022 6:24:27 PM


Good evening Tari. It has been a busy week… Paul may have already reached out, but there was no
prepared rule language that came out of the meeting, just a discussion on what should be included.
We anticipate language coming out of the meeting on Friday, I will let you know as soon as
something is prepared.

J


From: Rossitto-Vanwinkle, Tari <ROSSITTO-VANWINKLE.TARI@flsenate.gov>
Sent: Friday, October 28, 2022 3:43 PM
To: Vazquez, Paul <Paul.Vazquez@flhealth.gov>; Hartman, Janet E <Janet.Hartman@flhealth.gov>
Subject: BOM rule on treatment of treatment of Gender Dysphoria in Minors

EXTERNAL EMAIL: DO NOT CLICK links or open attachments unless you recognize the sender
and know the content is safe.
Paul and Janet,
Can one of you please send me a copy of the rule passed by the Board of Medicine on 10/28/2022
on the Treatment of Gender Dysphoria in Minors. Thanks.


Tari Rossitto-Van Winkle, R.N., J.D.
Senior Attorney
The Florida Senate Committee on Health Policy
530 Knott Building
404 South Monroe Street
Tallahassee, Florida 32399-1100
(850) 487-5824
(850) 410-0081 Fax
e-mail: rossitto-vanwinkle.tari@flsenate.gov




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From:             Vazquez, Paul
To:               Rossitto-Vanwinkle, Tari
Cc:               Hartman, Janet E
Subject:          RE: Rules 64B8-9.019 and 64B15-14.014
Date:             Tuesday, November 8, 2022 1:38:49 PM
Attachments:      Gender Dysphoria (rule draft 2) 11-4-22.docx


Tari:

Here are the draft rules. They have not yet been published.

Paul

                           Paul A. Vazquez, J.D.
                           Executive Director
                           Florida Board of Medicine
                           Florida Department of Health
                           Phone: 850-245-4130
PLEASE NOTE: Florida has a very broad public records law. Most written communications to or from state
officials regarding state business are public records available to the public and media upon request. Your e-
mail communications may therefore be subject to public disclosure.


From: Rossitto-Vanwinkle, Tari <ROSSITTO-VANWINKLE.TARI@flsenate.gov>
Sent: Tuesday, November 8, 2022 12:52 PM
To: Vazquez, Paul <Paul.Vazquez@flhealth.gov>; Hartman, Janet E <Janet.Hartman@flhealth.gov>
Subject: Rules 64B8-9.019 and 64B15-14.014

EXTERNAL EMAIL: DO NOT CLICK links or open attachments unless you recognize the sender
and know the content is safe.
Paul and Janet,

May I please have copies of the rules 64B8-9.019 passed by the Board of Medicine and 64B15-
14.014 passed by the Board of Osteopathic Medicine on November 4, 2022. Thanks.

Tari Rossitto-Van Winkle
2483 Shady Rest Road
Havana Fl 32333
(850) 545-0205
tarivan@aol.com




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